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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

PAULA D. DRENON                                                                      PLAINTIFF

v.                                   No. 2:16-CV-02276

TARGET CORPORATION                                                                 DEFENDANT

                                             ORDER

       Before the Court is Plaintiff’s Rule 41(a)(2) motion (Doc. 11) to dismiss without prejudice.

The motion represents that Defendant has stipulated to dismissal without prejudice. The Court

considers dismissal on these terms proper.

       IT IS THEREFORE ORDERED that Plaintiff’s motion (Doc. 11) is GRANTED and this

case is DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED this 26th day of June, 2017.


                                                            /s/P. K. Holmes, III
                                                            P.K. HOLMES, III
                                                            CHIEF U.S. DISTRICT JUDGE
